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 1   THOMAS A. ERICSSON, ESQ.
 2   Nevada Bar No. 4982
     Oronoz & Ericsson, LLC
 3   9900 Covington Cross Drive, Suite 290
 4   Las Vegas, Nevada 89144
     Telephone: (702) 878-2889
 5
     Facsimile: (702) 522-1542
 6   tom@oronozlawyers.com
 7   Attorney for Defendant Jose Gamboa

 8                         UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA
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11    UNITED STATES OF AMERICA,                CASE NO: 2:17-cr-00306-JCM-VCF
12                 Plaintiff,
                                                   MOTION TO WITHDRAW AS
13                 vs.                             COUNSEL AND NOTICE OF
14    JOSE GAMBOA (#19),                           REQUEST TO BE REMOVED
                                                   FROM CM/ECF E-NOTICE LIST
15                 Defendant.
16
17
     Certification: This notice is timely filed.
18
19             MOTION TO WITHDRAW AS COUNSEL AND
20    NOTICE OF REQUEST TO BE REMOVED FROM CM/ECF E-NOTICE
                               LIST
21
22           COMES NOW, Thomas A. Ericsson, Esq., CJA appointed attorney for the
23   Defendant, Jose Gamboa, and moves this Court to enter an Order allowing him to
24   withdraw as counsel and be removed from CM/ECF E-Notice list.
25           Mr. Gamboa was sentenced by the Court on October 15, 2021. Counsel has
26   finished his representation of Mr. Gamboa in this matter.
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 1         Counsel respectfully requests an Order allowing him to withdraw as counsel
 2   in this matter and be removed from CM/ECF E-Notice list.
 3         DATED this 20th day of January 2023.
 4
                                      By: /s/ Thomas A. Ericsson        .
 5                                       THOMAS A. ERICSSON, ESQ.
 6                                       Nevada Bar No. 4982
                                         Oronoz & Ericsson, LLC
 7
                                         9900 Covington Cross Drive, Suite 290
 8                                       Las Vegas, NV 89144
 9
                                         Attorney for Defendant Jose Gamboa

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                                           IT IS SO ORDERED.
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                                           ______________________________
14                                         Cam Ferenbach
                                           United States Magistrate Judge
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                                                   1-20-2023
                                           DATED ________________________
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         Case 2:17-cr-00306-JCM-VCF Document 1098 Filed 01/20/23 Page 3 of 3




 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that I am an employee of Oronoz & Ericsson, LLC, and that
 3   on the 20th day of January 2023, I served a copy of the foregoing MOTION TO
 4   WITHDRAW AS COUNSEL AND NOTICE OF REQUEST TO BE REMOVED
 5   FROM CM/ECF E-NOTICE LIST via CM/ECF system, which was served via
 6   electronic transmission by the Clerk of Court pursuant to local order.
 7                              Chad William McHenry, Esq.
 8                            Assistant United States Attorney
                                 1301 New York Ave NW
 9                                Washington, DC 20005
10                        Attorney for the United States of America
11
12
13
                                            /s/ Mariela Ramirez                .
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                                            Employee of Oronoz & Ericsson, LLC
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